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OJS 44     (Rev. 11/04)                                                         CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided
by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating
the civil docket sheet. (SEE INS TR UC TIO NS ON TH E R EV ER SE O F TH E FO RM .)

I. (a)       PLAINTIFFS                                                                                                 DEFENDAN TS
              State of Colorado. Removal is filed by the Fed. Bureau of Investigation                                    Robert Rodarte, James Cisneros, Jose Salazar, Frankie Salazar

    (b) County of Residence of First Listed Plaintiff                   El Paso                                         County of Residence of First Listed Defendant                           El Paso
                                   (EXCEPT IN U.S. PLAINTIFF CASES)                                                                                          ( IN U . S. PL A IN T IF F C A S ES O N LY )
                                                                                                                                  NOTE:       IN L A N D CO N D E M N A T I O N CA SE S, U SE T H E LO C A TIO N O F TH E
                                                                                                                                               L A N D IN V O L V ED .


    (c) Attorney’s (Firm Na me, A ddres s, and Telep hone N umbe r)                                                      Attorneys (If Known)

             T. Sample, J. Viehman (state); A. Padden (FBI) (contact info. attached)                                       S. Kohn, C. McKedy, P. Behan, V. Ringler (contact information attached)

II. BASIS OF JURISDICTION                              (Place an “X ” in One B ox Only)                 III. CITIZENSHIP OF PRINCIPAL PARTIES (Pla ce an “ X ” in O ne B ox fo r Pla intiff
                                                                                                                    (For Diversity Cases O nly)                                                      and O ne Bo x for De fendant)
   1     U.S. G overnment                
                                          ✔   3 Federal Question
                                                                                                              PTF
                                                                                                                                                                DEF                                                   PTF      DEF
             Pla intiff                             (U.S. G overnment N ot a Party)                           Citizen o f This State                    1          1     Incorporated or Principal Place               4         4
                                                                                                                                                                           of Busine ss In T his State

   2     U.S. G overnment                   4   Divers ity                                                  Citizen o f Anothe r State                2           2    Incorporated and Principal Place              5         5
             Defenda nt                                                                                                                                                       of Busine ss In A nother S tate
                                                    (Indicate C itizenship of Pa rties in Item III)

                                                                                                              Cit ize n or Su bje ct o f a              3           3    Foreign Nation                                6         6
                                                                                                                 Foreign C ountry
IV. NAT UR E O F SU IT                   (Place an “X ” in One B ox Only)
           CONTRACT                                                TORTS                                      F O R F E I TU R E /P E N A L T Y                    BANKRUPTCY                               OTHER STATUTES
    110 Insurance                         P E R S O N A L IN J U R Y           P E R S O N A L IN J U R Y          610 Agriculture                            422 Appeal 28 USC 158                     400 S tate Reap portionment
    120 M arine                            310 A irplane                        362 P ersonal Injury -             620 O ther Food & Drug                     423 Withdrawal                            410 Antitrust
    130 Miller Act                         315 Airplane Product                     Med. M alpractice              625 Drug Re lated Se izure                    28 USC 157                             430 B anks and B anking
    140 N egotiable Instrument                 Liability                       365 P ersonal Injury -                   of Property 21 USC 881                                                          450 Commerce
    150 R ecovery of O verpayment          32 0 A ssa ult, L ibe l &                Prod uct Liability             6 3 0 L iq uo r L aw s                     P R O P E R T Y R IG H T S                460 Deportation
       & E nforcement of Judgment              Slander                         368 Asbestos Personal               640 R.R. & Truck                           820 Co pyrights                           470 R acketeer Influenced and
    151 Medicare Act                       330 Federal Employers’                   Injury Product                 650 Airline Regs.                          830 P atent                                   Corrupt O rganizations
    152 Recovery of Defaulted                  Liability                            Liability                      660 Occupational                           840 Trad ema rk                           48 0 C ons ume r C red it
       Student Loans                       340 M arine                      P E R S O N A L P R O PE R T Y              Safety/H ealth                                                                  490 Cable/Sat TV
       (Excl. Veterans)                    345 Marine Product                  370 O ther Fraud                    690 Other                                                                            810 Selective Service
    153 R ecovery of O verpayment              Liability                       371 T ruth in Lending                           LABOR                          S O C IA L S E C U R IT Y                 850 Securities/Commodities/
        of Ve teran’s Bene fits            35 0 M oto r V ehic le              380 Other Personal                  710 Fair Labor Standards                   86 1 H IA (13 95 ff)                          Exchange
    160 Stock holders ’ Suits              35 5 M oto r V ehic le                   Property D amage                    Act                                   862 Black Lung (923)                      875 C ustomer C hallenge
    190 Other Contract                         Prod uct Liability              385 P roperty Da mage               720 La bor/M gmt. Relations                863 DIW C/D IW W (405 (g))                    12 USC 3410
    195 Co ntract Pro duct Liab ility      360 Other Personal                       Prod uct Liability             730 La bor/M gmt.Repo rting                8 6 4 S S ID T it le X V I            ✔   890 O ther Statutory Actions
    196 Franchise                              Injury                                                                   & Disclosure Act                      865 RS I (405 (g))                        891 Agricultural Ac ts
      REAL PROPERTY                          C I V IL R I G H T S           P R I SO N E R P E T I TI O N S        740 Railway Labor Act                      F E D E R A L T A X SU I T S              892 Economic Stabilization Act
    210 Land Condemnation                  441 V oting                         510 M otions to V acate             790 Other Labor Litigation                 87 0 T axe s (U .S. Pla intiff            893 Environm ental M atters
    220 Forec losure                       442 E mployment                         Sentence                        791 Empl. Ret. Inc.                             or D efenda nt)                      894 Energy Allocation Act
    230 R ent Lease & Ejectment            443 H ousing/                       Habeas Corpus:                           Security Act                          871 IRS — Third Pa rty                    895 Freedom of Information
    240 T orts to Land                         Acco mmod ations                530 General                                                                         26 USC 7609                              Act
    245 Tort P roduc t Liability           444 W elfare                        535 De ath Pe nalty                                                                                                      900Appeal of Fee Determination
    290 All Othe r Re al Prop erty         445 Amer. w/Disabilities -          540 Mandamus & O ther                                                                                                        Under Equal Access
                                               Employme nt                     550 Civil Rights                                                                                                             to Justice
                                           446 Amer. w/Disabilities -          555 Prison Condition                                                                                                     950 Constitutionality of
                                               Other                                                                                                                                                        State Statutes
                                           440 Othe r Civil Rights


V. O RIG IN                    (Place an “X ” in One B ox Only)                                                                                                                                                   Appeal to District
 1 Original                 
                             ✔ 2
                                 Removed from                   3 Remanded from                       4 Reinstated or  5 Transferred from
                                                                                                                            another district  6 Multidistrict                                               7 Judge from
                                                                                                                                                                                                                Magistrate
          Proceeding                State Court                    Appellate Court             Reopened               (specify)                 Litigation                                                        Judgment
                                            Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                              28 U.S.C. 1442
VI. CAUSE OF ACTION                           Brief description of cause:
                                              Removal of state court order directing release of FBI confidential informant file
VII. RE QU EST ED IN                              CHECK IF THIS IS A CLASS ACTION                               DEMAND $                                                CHECK YES only if demanded in complaint:
     COM PLAINT:                                   UNDER F.R.C.P. 23                                                                                                     JURY DEMAND:          Yes      No
DATE                                                                           S IG N A T U R E O F A TT O R N E Y O F R E C O R D

12/11/2009                                                                      s/ Amy L. Padden, AUSA, Attorney for FBI (third party)
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    RECEIPT #                       AMOUNT                                        APPLY ING IFP                                              JUDGE                                  M A G . JU D G E




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